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 4   Telephone: (916) 554-2790
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR S-05-456 FCD
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER
13                v.              )
                                  ) DATE: August 28, 2006
14   RAQUEL SOLORIO,              ) TIME: 9:30 a.m.
                                  ) CTRM: Hon. Frank C. Damrell, Jr.
15                    Defendant. )
     _____________________________)”AS MODIFIED”
16
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Raquel Solorio, through her counsel, Dina
21   Santos, Esq., stipulate and agree to continue the motion hearing
22   regarding defendant Solorio’s Motion to Sever to September 18, 2006.
23   The Government’s opposition shall be filed on or before September 5,
24   2006 and a reply by defendant no later than September 11, 2006.
25         The government needs additional time due to a complex trial
26   beginning September 6, 2006, in United States v. Huy Chi Luong,
27   ///
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 1   CR-S-96-350 WBS, which requires government counsel to travel out of
 2   state the week of August 28, 2006 to prepare witnesses.
 3                                                 Respectfully submitted,
 4                                                 McGREGOR W. SCOTT
                                                   United States Attorney
 5
 6   DATED: August 25, 2006               By: /s/ William S. Wong
                                              WILLIAM S. WONG
 7                                            Assistant U.S. Attorney
                                              Attorneys for Plaintiff
 8
 9
     DATED: August 25, 2006              By:       /s/ Dina L. Santos
10                                                 DINA L. SANTOS, ESQ.
                                                   Attorney for Defendant
11                                                 RAQUEL SOLORIO
12   ________________________________________________________________
13                                         ORDER
14        UPON GOOD CAUSE SHOWN, the revised law and motion schedule is
15   adopted.    Furthermore, time is excluded for the reasons set forth
16   above.
17        IT IS SO ORDERED.
18
     DATED: August 25, 2006
19                                           /s/ Frank C. Damrell Jr.
                                             HONORABLE FRANK C. DAMRELL, JR.
20                                           UNITED STATES DISTRICT COURT JUDGE
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